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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA
                                                 Case No. 22-cr-00007-LKG-1
               v.

 MARILYN J. MOSBY,

                         Defendant



                         MOTION TO WITHDRAWAL AS COUNSEL

       COMES NOW Daniel Z. Herbst, Esq. of Reed Smith LLP, counsel for Defendant State’s

Attorney Marilyn J. Mosby (“State’s Attorney Mosby”), and pursuant to Local Rule 201.3, and

hereby moves for entry of an order granting his withdrawal as counsel. State’s Attorney Mosby

will continue to be represented by A. Scott Bolden, Rizwan A. Qureshi, Kelley Miller, and

Anthony R. Todd of Reed Smith LLP. Further, attorney Gary E. Proctor and attorney Lucius

Outlaw have entered their appearances to serve as local counsel for State’s Attorney Mosby. The

withdrawal of the undersigned counsel will not adversely affect Defendant.

       WHEREFORE, State’s Attorney Mosby requests that this Court grant Mr. Herbst’s

withdrawal as counsel.


Dated: June 1, 2022                   Respectfully submitted,

                                      /s/ Daniel Z. Herbst

                                      Daniel Z. Herbst (SBN 17510)
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                                      Counsel for Defendant Marilyn J. Mosby.
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                                CERTIFICATE OF SERVICE


       I certify that, on June 1, 2022, this document was electronically filed with the Clerk of

Court using the Court’s CM/ECF system, which will then serve a notification of the filing to the

registered parties of record.

                                                   /s/ Daniel Z. Herbst
                                                   Daniel Z. Herbst




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